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              IN THE UNITED STATES DISTRICT COURT

              FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) LAURIE GARLAND, an         )
    individual,                )
                               )
      Plaintiff,               )
                               )
-vs-                           )No. CIV-2020-206-RAW
                               )
(1) STATE OF OKLAHOMA EX REL   )
     OKLAHOMA DEPARTMENT OF    )
     CORRECTIONS               )
(2) CHRISTOPHER REDEAGLE,      )
     individually              )
(3) SHARON McCOY, individually )
(4) JOE ALLBAUGH, individually )
(5) PENNY LEWIS, individually )
(6) RABEKAH MOONEYHAM,         )
     individually              )
(7) HEATHER CARLSON,           )
     individually              )
(8) BOARD OF CORRECTIONS       )
                               )
      Defendants.              )


               DEPOSITION OF CHRISTOPHER REDEAGLE


                TAKEN ON BEHALF OF THE PLAINTIFF


                         IN TULSA, OKLAHOMA


                           On JULY 14, 2021


              REPORTED BY:      KASEY D. EGELSTON, CSR




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                                                                     Page 115
    1         A     No.
    2         Q     Did you ever talk about her kids or where
    3    she went to school or anything like that?
    4         A     No.
    5         Q     Was Warden McCoy gone a lot during
    6    February, March of 2019?
    7         A     Not that comes to mind.         I mean, nothing --
    8         Q     Okay.   When you were interviewed by Randy
    9    Knight, do you remember that interview?
  10          A     Yes.
  11          Q     Were you expecting it?
  12          A     No.
  13          Q     Was it a surprise when it actually
  14     happened?
  15          A     Yeah.
  16          Q     I'm trying to look at the date.               Was it
  17     April 2nd or 3rd, something like that?
  18          A     Something like that, yes.
  19          Q     Here it is.      April 3, 2019; is that right?
  20          A     Yes.
  21          Q     It looks like he showed up in the morning.
  22     Does that comport with your memory?
  23          A     Yes.
  24          Q     You didn't expect -- you were completely
  25     unaware; right?


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                                                                        Page 170
    1           Q     Okay.   Was Warden McCoy the faculty
    2    director at the Eddie Warrior Correctional Center?
    3                       MS. HAWKINS:     Object to form.
    4           Q     (By Mr. Dalton)       Do you know?
    5           A     I don't know.       I've never heard of that
    6    term.
    7           Q     Warden McCoy's leadership style was -- you
    8    said she held people accountable -- accountability.
    9    Was she hands-on?
  10          A       What do you mean hands-on?
  11          Q       Would she walk through and show you how she
  12     wanted a job done?            Would she look to see how things
  13     were being done and then show somebody the proper
  14     way to do it, or was she more delegating?
  15          A       No.   She would walk you through and tell
  16     you.       She wouldn't do it.        But yeah, she would tell
  17     you what she wanted done.
  18          Q       Did she walk through and tell you how she
  19     wanted things done daily, weekly, monthly?
  20          A       Probably more monthly.
  21          Q       Okay.   Did she maintain a system of records
  22     on a regular basis?           Was she good about keeping up
  23     with the records she had to keep?
  24          A       I don't know.      I didn't supervise her.
  25          Q       Was she absent with any regularity during


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                                                                     Page 171
    1    2018?
    2         A     No.
    3         Q     Was she getting ready to transfer to
    4    another facility?       To Jess Dunn, maybe?
    5         A     Not really.      She wasn't getting ready to.
    6    They just told her one day that you're going over
    7    there.
    8         Q     During that time was she gone at Jess Dunn
    9    a bunch or was she still at Eddie Warrior all the
  10     time?
  11          A     No.    She was --
  12          Q     Eddie Warrior?
  13          A     Eddie Warrior, yeah.
  14          Q     In your mind, she was at Eddie Warrior just
  15     as much in 2018, as she had been -- or '19, that she
  16     had been in '18 and the year before?
  17          A     Yes.
  18          Q     She didn't -- did she have any reason to
  19     leave the facility with any regularity?                  Or was she
  20     at the facility most of the time?
  21          A     No.    She was there most of the time.             Eight
  22     hours a day.
  23          Q     Okay.    Non-routine incidents are supposed
  24     to be written up by all staff; correct?
  25          A     The staff who witnessed it.


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